Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD_ Page 1 of 56
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United States Courts
Southern District of Texas

 

UNITED STATES DISTRICT COURT RED
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION MAR 04 2019
David J. Bradiey, Clerk of Court
UNITED STATES OF AMERICA, §
§
V. §
49 CR 147
CYRUS ALLEN AHSANI, and § CRIMINAL
SAMAN AHSANI, §
§ UNDER SEAL
Defendants. §
INFORMATION

THE UNITED STATES CHARGES:
At all relevant times, unless otherwise specified:
The Foreign Corrupt Practices Act
1. The Foreign Corrupt Practices Act of 1977 (“FCPA”), as amended,
Title 15, United States Code, Section 78dd-1, et seg., was enacted by Congress for
the purpose of, among other things, making it unlawful to act corruptly in
furtherance of an offer, promise, authorization, or payment of money or anything
of value, directly or indirectly, to a foreign official for the purpose of obtaining or
retaining business for, or directing business to, any person.
The Defendants, Intermediary Company, and Associated Individuals
2. “Intermediary Company,” a Monaco-based group of affiliated
companies whose identities are known to the United States and the Defendants,

provided services for various multinational companies operating in the energy
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 2 of 56

sector. Intermediary Company maintained business operations through its various
subsidiaries and affiliates in multiple countries, including in Algeria, Angola,
Azerbaijan, Iraq, Kazakhstan, Libya, the United Arab Emirates, and elsewhere. At
one point, Intermediary Company and its various subsidiaries and affiliates
employed or retained over 1,400 employees and contractors. At times,
Intermediary Company, and certain of its various subsidiaries and affiliates, was an
agent of an “issuer,” as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-1(a); an agent of a “domestic concern,” as that term is used in
the FCPA, Title 15, United States Code, Section 78dd-2(a) and (h)(1); anda
“person” and an agent of a “person,” as those terms are used in the FCPA, Title 15,
United States Code, Section 78dd-3(a) and (f)(1).

3. Defendant CYRUS ALLEN AHSANI (“Defendant C. AHSANT’)
was a citizen of the United Kingdom and Iran, and, until on or about July 1, 2011,
a citizen of the United States. In or around 1991, Defendant C. AHSANI became
an executive at Intermediary Company. In or around 1994, Defendant
C. AHSANI became the Chief Executive Officer (“CEO”) of Intermediary
Company, a position he held until at least 2016. Until on or about July 1, 2011,
Defendant C. AHSANI was a “domestic concern” and a “United States Person,” as
those terms are used in the FCPA, Title 15, United States Code, Section

78dd-2(h)(1)(A), (i)(2). At various times, Defendant C. AHSANI was an agent of
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 3 of 56

an “issuer,” as that term is used in the FCPA, Title 15, United States Code, Section
78dd-1(a); an agent of a “domestic concern,” as that term is used in the FCPA,
Title 15, United States Code, Section 78dd-2(a) and (h)(1); and a “person” and an
agent of a “person,” as those terms are used in the FCPA, Title 15, United States
Code, Section 78dd-3(a) and (f}(1).

4. Defendant SAMAN AHSANI (“Defendant 8S. AHSANI”), was a
citizen of the United Kingdom and Iran. In or around 2003, Defendant
S. AHSANI became an employee of Intermediary Company. In or around 2005,
Defendant S. AHSANIT became Intermediary Company’s Commercial Director and
Libya Territory Manager, a position he held until at least 2011. In or around 2011,
Defendant 8S. AHSANI became Intermediary Company’s Chief Operations Officer
(“COO”), a position he held until at feast 2016. At various times, Defendant
S. AHSANI was an agent of an “issuer,” as that term is used in the FCPA, Title 15,
United States Code, Section 78dd-1(a); an agent of a “domestic concern,” as that
term is used in the FCPA, Title 15, United States Code, Section 78dd-2(a) and
(h)(1); and a “person” and an agent of a “person,” as those terms are used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

5, “CC-1,” an individual whose identity is known to the United States
and the Defendants, was a citizen of the United Kingdom and Iran. CC-1 was a

senior executive of Intermediary Company. At various times, CC-1 was an agent
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 4 of 56

of an “issuer,” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-1{a); an agent of a “domestic concern,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(a) and (h)(1); and a “person”
and an agent of a “person,” as those terms are used in the FCPA, Title 15, United
States Code, Section 78dd-3(a) and (f)(1).

6. “CC-2,” an individual whose identity is known to the United States
and the Defendants, was a citizen of the United Kingdom and an employee of
Intermediary Company. At various times, CC-2 was an agent of an “issuer,” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-1(a); an
agent of a “domestic concern,” as that term is used in the FCPA, Title 15, United
States Code, Section 78dd-2(a) and (h)(1); and a “person” and an agent ofa
“person,” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-3(a) and (f)(1).

7.  “CC-3,” an individual whose identity is known to the United States
and the Defendants, was a citizen of the United Kingdom and a business partner of
Intermediary Company. At various times, CC-3 was an agent of an “issuer,” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-1(a); an
agent of a “domestic concern,” as that term is used in the FCPA, Title 15, United

States Code, Section 78dd-2(a) and (h)(1); and a “person” and an agent of a
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD Page 5 of 56

“person,” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-3({a) and (f)(1).

8. “CC-4,” an individual whose identity is known to the United States
and the Defendants, was a citizen of the United Kingdom and an employee of
Intermediary Company. At various times, CC-4 was an agent of an “issuer,” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-1(a); an
agent of a “domestic concern,” as that term is used in the FCPA, Title 15, United
States Code, Section 78dd-2(a) and (h)(1); and a “person” and an agent of a
“person,” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-3(a) and (f){1).

9. “CC-5,” an individual whose identity is known to the United States
and the Defendants, was a citizen of the United States and a business partner of
Intermediary Company. CC-5 was a “domestic concern” and a “United States
Person,” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(1)(A), (1)(2). At various times, CC-5 was an agent of an
“issuer,” as that term is used in the FCPA, Title 15, United States Code, Section
78dd-1(a); an agent of a “domestic concern,” as that term is used in the FCPA,
Title 15, United States Code, Section 78dd-2(a) and (h)(1); and an agent ofa
“person,” as that term is used in the FCPA, Title 15, United States Code, Section

78dd-3(a) and (f)(1).
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 6 of 56

10.  “CC-6,” an individual whose identity is known to the United States
and the Defendants, was a citizen of Italy and a business partner of Intermediary
Company. At various times, CC-6 was an agent of an “issuer,” as that term is used
in the FCPA, Title 15, United States Code, Section 78dd-1(a); an agent of a
“domestic concern,” as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-2(a) and (h)(1); and a “person” and an agent of a “person,” as
those terms are used in the FCPA, Title 15, United States Code, Section
78dd-3(a) and (f)(1).

11. “CC-7,” an individual whose identity is known to the United States
and the Defendants, was a citizen of Iraq. CC-7 maintained a business relationship
with Intermediary Company. At various times, CC-7 was an agent of an “issuer,”
as that term is used in the FCPA, Title 15, United States Code, Section 78dd-1(a);
an agent of a “domestic concern,” as that term is used in the FCPA, Title 15,
United States Code, Section 78dd-2(a) and (h)(1); and a “person” and an agent of a
“person,” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-3(a) and (f}(1).

The Defendants’ Client Companies

12. Rolls-Royce ple (“Rolls-Royce”) was a publicly traded company in

the United Kingdom. Rolls-Royce was a “person,” as that term is used in the

FCPA, Title 15, United States Code, Section 78dd-3(a), (N(1). From in or around
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 7 of 56

2000 to in or around 2014, Rolls-Royce Energy Systems, Inc. (“RRESI’’) was an
Ohio-based subsidiary of Rolls-Royce. RRESI was a “domestic concern,” as that
term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

13. SBM Offshore N.V (“SBM”) was a publicly-traded company in the
Netherlands, with offices in Amsterdam, Monaco, Switzerland and Houston,
Texas, and subsidiaries in Houston, Texas. SBM was a “person,” as that term is
used in the FCPA, Title 15, United States Code, Section 78dd-3(a), (f)(1).

14. “Company 1,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Houston, Texas, whose shares were traded on the New York
Stock Exchange. Company | was an “issuer,” as that term is used in the FCPA,
Title 15, United States Code, Section 78dd-1(a).

15. “Company 2,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in New Jersey, whose shares were traded on the New York Stock
Exchange. Company 2 was an “issuer,” as that term is used in the FCPA, Title 15,
United States Code, Section 78dd-1(a).

16. “Company 3,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational energy company

headquartered in Houston, Texas, whose shares were traded on the New York
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD_ Page 8 of 56

Stock Exchange. Company 3 was an “issuer,” as that term is used in the FCPA,
Title 15, United States Code, Section 78dd- (a).

17. “Company 4,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational energy company
headquartered in Houston, Texas, whose shares were traded on the New York
Stock Exchange. Company 4 was an “issuer,” as that term is used in the FCPA,
Title 15, United States Code, Section 78dd-1{a).

18. “Company 5,” an entity whose identity is known to the United States
and the Defendants, was an Italy-based company that was a wholly owned
subsidiary of a publicly traded multinational energy company, which was
headquartered in Massachusetts and whose shares were traded on the New York
Stock Exchange. Company 5 was an agent of an “issuer,” as that term is used in
the FCPA, Title 15, United States Code, Sections 78dd-1(a).

19. “Company 6,” an entity whose identity is known to the United States
and the Defendants, was a multinational energy company headquartered in
Houston, Texas whose shares were traded on the New York Stock Exchange.
Company 6 was an “issuer,” as that term is used in the FCPA, Title 15, United
States Code, Section 78dd-1{a).

20. “Company 7,” an entity whose identity is known to the United States

and the Defendants, was a publicly traded multinational energy company
Case 4:19-cr-00147 Document16 Filed on 03/04/19 in TXSD Page 9 of 56

headquartered in the United Kingdom. Company 7 was a “person,” as that term is
used in the FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

21. “Company 8,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Australia. Company 8 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

22. “Company 9,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Italy. Company 9 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f){1).

23. “Company 10,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Malaysia. Company 10 was a “person,” as that term is used in
the FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

24. “Company 11,” an entity whose identity is known to the United States
and the Defendants, was a multinational construction company headquartered in
South Korea. Company 11 was a “person,” as that term is used in the FCPA, Title
15, United States Code, Section 78dd-3(a) and (N(1).

25. “Company 12,” an entity whose identity is known to the United States

and the Defendants, was a multinational construction company headquartered in
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 10 of 56

South Korea. Company 12 was a “person,” as that term is used in the FCPA, Title
15, United States Code, Section 78dd-3(a) and (f)(1).

26. “Company 13,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Norway. Company 13 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

27. “Company 14,” an entity whose identity is known to the United States
and the Defendants, was a partnership of two multinational energy companies
headquartered in Turkey. Company 14 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

28. “Company 15,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in South Korea. Company 15 was a “person,” as that term is used in
the FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

29. “Company 16,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in South Korea. Company 16 was a “person,” as that term is used in
the FCPA, Title 15, United States Code, Section 78dd-3{a) and (f)(1).

30. “Company 17,” an entity whose identity is known to the United States

and the Defendants, was a publicly traded multinational engineering company

10
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 11 of 56

headquartered in Spain. Company 17 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

31. “Company 18,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational original equipment
manufacturing company headquartered in Germany. Company 18 was a “person,”
as that term is used in the FCPA, Title 15, United States Code, Section 78dd-3(a)
and (f)(1).

32. “Company 19,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Singapore. Company 19 was a “‘person,” as that term is used in
the FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

33. “Company 20,” an entity whose identity is known to the United States
and the Defendants, was a publicly traded multinational engineering company
headquartered in Italy. Company 20 was a “person,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-3(a) and (f)(1).

34. “Company 21,” an entity whose identity is known to the United States
and the Defendants, was a multinational energy company headquartered in
Switzerland whose shares had sponsored American Depositary Shares publicly
traded on the New York Stock Exchange. Company 21 was an “issuer,” as that

term is used in the FCPA, Title 15, United States Code, Section 78dd-1{a).

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Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 12 of 56

35. “Company 22,” an entity whose identity is known to the United States
and the Defendants, was a privately owned chemical and engineering company,
headquartered in Houston, Texas. Company 22 was a “domestic concern,” as that
term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)}(1).

36. “Company 23,” an entity whose identity is known to the United States
and the Defendants, was a privately owned engineering company headquartered in
New York. Company 23 was a “domestic concern,” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h){1).

37. “Company 24,” an entity whose identity is known to the United States
and the Defendants, was a multinational energy company headquartered in
Missouri whose shares were traded on the New York Stock Exchange. Company
24 was an “issuer,” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-1(a). In or around June 2010 Company 24 acquired Company 23.

38. “Company 25,” an entity whose identity is known to the United States
and the Defendants; was a privately owned maintenance company headquartered in
Monaco. Company 25 was a “person,” as that term is used in the FCPA, Title 15,

United States Code, Section 78dd-3(a) and (f)(1).!

 

| At times, Companies 1-25 operated through various subsidiaries and affiliates.
As used below, the designation for the parent company, e.g., “Company 1,” may
refer to subsidiaries or affiliates of that company.

12
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 13 of 56

Foreign Instrumentalities

39. “SOE-1,” an entity whose identity is known to the United States and
the Defendants, was an [raqi state-owned and state-controlled oil company that
performed government functions for Iraq, and was an “instrumentality” of the
government, as that term is used in the FCPA, Title 15, United States Code,
Sections 78dd-1(a); 78dd-2(a); and 78dd-3(a).

40. “SOE-2,” an entity whose identity is known to the United States and
the Defendants, was an Iraqi state-owned and state-controlled oil company that
performed government functions for Iraq, and was an “instrumentality” of the
government, as that term is used in the FCPA, Title 15, United States Code,
Sections 78dd-1(a); 78dd-2(a); and 78dd-3(a).

41. “SOE-3,” an entity whose identity is known to the United States and
the Defendants, was a Kazakh state-owned and state-controlled oil and gas
company that performed government functions for Kazakhstan, and was an
“instrumentality” of the government, as that term is used in the FCPA, Title 15,
United States Code, Sections 78dd-1(a); 78dd-2(a); and 78dd-3(a).

42. “SOE-4,” an entity whose identity is known to the United States and
the Defendants, was a subsidiary of an Italian oil and gas company that was
nominated by the government of Kazakhstan to act on behalf of SOE-3 as the

operator of “Kazakhstan Project 1,” a major oil and gas project in Kazakhstan,

13
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 14 of 56

whose identity is known to the United States and Defendants. In this capacity,
SOE-4 was authorized to help determine contract awards for Kazakhstan Project 1
and was an “instrumentality” of the government, as that term is used in the FCPA,
Title 15, United States Code, Sections 78dd-1(a); 78dd-2(a); and 78dd-3(a).

43. “SOE-5,” an entity whose identity is known to the United States and
the Defendants, was an Algerian state-owned and state-controlled oil company that
performed government functions for Algeria, and was an “instrumentality” of the
government, as that term is used in the FCPA, Title 15, United States Code,
Sections 78dd-1{a); 78dd-2(a); and 78dd-3(a).

44, “SOE-6,” an entity whose identity is known to the United States and
the Defendants, was a Libyan state-owned and state-controlled oil company that
performed government functions for Libya, and was an “instrumentality” of the
government, as that term is used in the FCPA, Title 15, United States Code,
Sections 78dd-1(a); 78dd-2(a); and 78dd-3(a).

The Corrupt Scheme

45. Beginning by at least in or around 1999, and continuing until in or
around 2016, Defendants C. AHSANI and S. AHSANI, while acting within the
scope of their employment with Intermediary Company and within the scope of
their agency with various companies, including Companies 1-25, and with the

intent to benefit Intermediary Company and its client companies, including

14
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 15 of 56

Companies 1-25, conspired with others, including CC-1, CC-2, CC-3, CC-4, CC-5,
CC-6, CC-7, and certain executives and employees of Companies 1-25, to (1) pay
bribes, promise to pay bribes, offer to pay bribes, and authorize the payment of
bribes to foreign government officials in Iraq, Kazakhstan, Libya, Algeria, Iran,
Azerbaijan, Angola, Syria, the Democratic Republic of the Congo, and elsewhere,
at government ministries and instrumentalities, including, but not limited to, at
SOE-1, SOE-2, SOE-3, SOE-4, SOE-5, and SOE-6, on behalf and for the benefit
of Intermediary Company and its client companies, including Companies 1-25, in
order to obtain improper business advantages and to obtain and retain business for
Intermediary Company and its client companies; (2) launder the proceeds of bribe
payments in order to promote and conceal the ongoing bribery schemes; and
(3) cause false statements to be made to, and to destroy and conceal documents and
records to evade detection from, law enforcement authorities in the United States,
the United Kingdom, Italy, and elsewhere. In furtherance of the conspiracy,
Defendants C. AHSANI and 8. AHSANI conspired with others, known and
unknown, to engage in “bid-rigging” between certain of its client companies and
pay “kickbacks” to employees of certain of its client companies.
Iraq
46. In Iraq, Defendants C. AHSANI and 8. AHSANI conspired with

others, including certain executives and employees at client companies of

15
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 16 of 56

Intermediary Company, to pay bribes, promise to pay bribes, offer to pay bribes,
and authorize the payment of bribes to foreign government officials, including
officials at SOE-1 and SOE-2, in order to obtain improper business advantages and
to obtain and retain business for Intermediary Company and its client companies,
including, but not limited to SBM, Company 1, Company 5, Company 8, Company
9, Company 22, and Company 25. Defendants C. AHSANI and S. AHSANI also
conspired with others to engage in other corrupt conduct such as bid-rigging,
paying kickbacks, and laundering of the proceeds of the corrupt schemes.

47. For example, beginning in or around January 2008, Defendants
C. AHSANI and 8. AHSANI, together with others, including CC-1, CC-2, CC-3,
and CC-4, agreed to pay bribes to “Iraq Official 1,” a high-ranking official at SOE-
1, whose identity is known to the United States and the Defendants, in exchange
for Iraq Official 1°s agreement to help steer contract awards to Intermediary
Company’s client companies, including, but not limited to, SBM, Company 1,
Company 5, Company 8, Company 9, and Company 25.

48.  Inor around May 2009, Defendants C. AHSANI and S. AHSANT,
together with others, including CC-1, CC-3, and CC-4, also agreed to begin paying
a monthly bribe to “Iraq Official 2,” a high-ranking official at SOE-1 whose
identity is known to the United States and the Defendants, in exchange for Iraq

Official 2’s agreement to provide Intermediary Company’s employees with

16
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 17 of 56

confidential documents and information from SOE-1, and a promise by Iraq
Official 2 to help steer SOE-1 contract awards to Intermediary Company’s client
companies, including, but not limited to SBM, Company 1, Company 5, Company
8, and Company 9.

49, Inor around August 2009, Defendants C. AHSANI and S. AHSANE,
together with others, including, but not limited to, CC-1, CC-2, CC-3, CC-4, and
CC-7 also agreed to begin paying bribes to “Iraq Official 3” and “Traq
Official 4,” two senior Iraqi government officials whose identities are known to the
United States and the Defendants, in order to ensure that the Iraqi government
approved certain work for Intermediary Company’s client companies, including,
but not limited to, SBM, Company 1, Company 5, Company 8, and Company 9.

50. Specifically, in or around and between 2009 and 2010, Defendants
C. AHSANEI, S. AHSANEI and others, including but not limited to CC-3, obtained
confidential bidding information from Irag Official 2 identifying the scope of “Iraq
Project 1,” a major oil and gas development project in Iraq that is known to the
United States and Defendants, and other information revealing the identity of the
likely bidders for related sub-projects, including “Iraq Project 1A,” “Iraq Project
1B,” and “Iraq Project 1C,” sub-projects to Iraq Project 1 that are known to the

United States and Defendants.

17
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 18 of 56

51. On or about May 26, 2010, CC-2 attended a meeting in Perth,
Australia with employees of Company 8 and Company 9 in which they agreed to
enter into a corrupt bid-rigging process. At the meeting, CC-2 agreed with certain
employees of Company 8 and Company 9 that CC-2 would act as a go-between to
share information between Company 8 and Company 9, so that Company 8 and
Company 9 could adjust their bids to ensure that Company 8 won Iraq Project 1A
and Company 9 won Iraq Project 1B. As part of the agreement, Company 8 and
Company 9 also agreed to retain certain subsidiaries and affiliates of Intermediary
Company as sub-contractors on the projects. Certain executives at Company 8 and
Company 9 ensured that Intermediary Company’s subsidiary and affiliated
companies would be paid so that Intermediary Company had sufficient funds to
make bribe payments to Iraqi government officials.

52. On or about October 23, 2010, the government of Iraq awarded Iraq
Project 1A to Company 8.

53, Thereafter, Defendants C. AHSANI and S. AHSANI, and others,
including certain executives and employees at Company 8 and Company 9, agreed
to pay approximately $8.25 million to CC-7, portions of which they understood
would be paid as bribes to Iraq Official 2, Iraq Official 3, and Iraq Official 4 in

order to guarantee that the Iraqi government would approve Company 8’s and

18
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 19 of 56

Company 9’s project bids in a timely manner, and approve Intermediary
Company’s subsidiary and affiliated companies as sub-contractors.

54. In addition to the above, Defendants C. AHSANI, S. AHSANI, and
others, acting within the scope of their agency and other agreements and for the
benefit of Intermediary Company and Intermediary Company’s client companies,
conspired with others, including certain client company executives and employees,
to pay bribes, promise to pay bribes, offer to pay bribes, and authorize the payment
of bribes to foreign government officials in Iraq, including within SOE-1 and SOE-
2, in order to obtain the following projects:

a. In or around 2005, and in conspiracy with certain executives
and employees at Company 22, at least one project for Company 22, In
furtherance of the conspiracy, Defendant C. AHSANI and others agreed to pay
kickbacks to an executive at Company 22;

b. In or around and between 2008 and 2011, and in conspiracy
with certain executives and employees at Company 1, at least seven projects for
Company 1;

C. In or around and between 2010 and 2013, and in conspiracy
with certain executives and employees of SBM, Iraq Project 1C and at least two

other sub-projects to Iraq Project 1 for SBM;

19
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 20 of 56

d. In or around and between 2010 and 2014, and in conspiracy
with certain executives and employees at Company 8, at least one sub-project to
Iraq Project | for Company 8;

e. In or around and between 2011 and 2013, at least one
engineering and construction project for Intermediary Company;

f. In or around and between 2013 and 2015, and in conspiracy
with certain executives and employees at Company 5, an option to substitute
Company 5 equipment in the project identified above in paragraph 54(e¢}; and

g. In or around 2015, and in conspiracy with certain executives
and employees at Company 25, at least one maintenance management services
project for Company 25.

Kazakhstan

55. In Kazakhstan, Defendants C. AHSANI and S. AHSANI conspired
with others, including certain executives and employees at client companies of
Intermediary Company, to pay bribes, promise to pay bribes, offer to pay bribes,
and authorize the payment of bribes to foreign government officials, including at
SOE-3 and SOE-4, in order to obtain improper business advantages and to obtain
and retain business for Intermediary Company and its co-conspirator client
companies, including, but not limited to, Company 3, Company 4, Company 6,

Company 7, Company 13, Company 14, Company 19, Company 20, and Company

20
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 21 of 56

21. Defendants C. AHSANI and 8. AHSANI also conspired with others to engage
in other corrupt conduct, such as bid-rigging, paying kickbacks, and laundering of
the proceeds of the corrupt schemes.

56. For example, by at least in or around 2001, Defendant C. AHSANI
and others learned that the government of Kazakhstan would be seeking bids for
various sub-projects on “Kazakhstan Project 1.” At the time, Defendant
C. AHSAN] also learned that SOE-3 had appointed a consortium of large oi] and
gas services companies to assist with the bidding. Defendant C. AHSANI and
others knew that SOE-4, as the operator of the project, evaluated bids made by the
oil and gas companies and that SOE-4 made recommendations to SOE-3 for final
approval of certain significant contract awards.

57. In or around 2002, Company 3 retained Intermediary Company for
work in Kazakhstan. In or before October 2002, Defendant C. AHSANI and
others identified for certain Company 3 executives and employees “Kazakhstan
Project 1A,” a sub-project to Kazakhstan Project I that is known to the United
States and Defendants, as a viable project for Company 3. In order to win that
project, Defendant C. AHSANI conspired with others, including CC-2 and certain
Company 3 executives, to bribe government officials in Kazakhstan in order to win

“Kazakhstan Project 1A.”

21
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 22 of 56

58. Specifically, on or about December 31, 2004, Defendant C. AHSANI
promised to pay approximately $1.6 million to “Kazakh Official 1,” a high-level
executive at SOE-4 whose identity is known to the United States and the
Defendants, in return for Kazakh Official 1’s assistance with helping to award
Kazakhstan Project 1A to Company 3. Although the promise to pay bribes
occurred while Kazakh Official 1 worked for SOE~4, Intermediary Company did
not make any payments to Kazakh Official 1 until Kazakh Official 1 stopped
working for SOE-4; Defendant C. AHSANI did, however, arrange for the
purchase of an automobile and furniture for Kazakh Official 1 while Kazakh
Official 1 was still employed by SOE-4. Thereafter, in or about and between
February 2005 and October 2006, Defendant C. AHSANI and others caused
Intermediary Company to make payments to a company they knew was
beneficially owned and controlled by Kazakh Official 1, as had been promised, in
return for Kazakh Official 1’s prior assistance in securing Kazakhstan Project 1A
for Company 3.

59. Defendant C. AHSANI also conspired with others to bribe certain
officials at SOE-3 to ensure that Company 3 won Kazakhstan Project 1A. For
example, on or about June 17, 2003, Intermediary Company entered into a sub-
agency agreement with a “sub-agent” company, in which Intermediary Company

agreed to pay the “sub-agent” approximately 0.44% of the value of the Kazakhstan

22
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 23 of 56

Project 1A contract award. At the same time, Defendant C. AHSANI caused
Intermediary Company to enter into a “side letter” agreement with the “sub-agent”
providing that payments to the “sub-agent” would only continue if three specific
government officials in Kazakhstan remained in their positions in the government.
Defendant C. AHSANI and others executed this “side letter” because they
understood that portions of Intermediary Company’s payments to the “sub-agent”
would be used to pay bribes to these three government officials in Kazakhstan.

60. Defendant C. AHSANI further conspired with others to make bribe
payments, including payments of cash and a vehicle, to “Kazakh Official 2,” a
high-ranking official at SOF-3 whose identity is known to the United States and
Defendants, in exchange for Kazakh Official 2’s agreement to use Kazakh Official
2’s authority within SOE-3 to authorize the award of Kazakhstan Project 1A to
Company 3.

61. On or about May 26, 2004, the government of Kazakhstan awarded
Kazakhstan Project LA to Company 3.

62. In addition to the above, Defendant C. AHSANT, and at times
Defendant S. AHSANI, and others, acting within the scope of their agency and
other agreements and for the benefit of Intermediary Company and Intermediary
Company’s client companies, conspired with others, including certain client

company executives and employees, to pay bribes, promise to pay bribes, offer to

23
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 24 of 56

pay bribes, and authorize the payment of bribes to at least five foreign government
officials in Kazakhstan, including within SOE-3 and SOE-4, in order to obtain the
following additional projects:

a. In or around and between 2003 and 2009, and in conspiracy
with certain executives and employees at SBM, at least one sub-contract to
Kazakhstan Project 1 for SBM and a joint venture partner;

b. In or around and between 2003 and 2010, and in conspiracy
with certain executives and employees at Company 7, at least seven sub-projects to
Kazakhstan Project 1 and at least one other oil and gas project for Company 7.
Among other things, Defendants C. AHSANE, 8S. AHSANE, and others also
undertook affirmative steps to conceal the bribes paid and promised to be paid on
behalf of Company 7, which included Defendant 8S. AHSANI coordinating with a
high-ranking executive at Company 7 to maintain a double set of books and
records to disguise Intermediary Company’s bribery payments on behalf of
Company 7 as legitimate transactions;

c. In or around and between 2004 and 2006, and in conspiracy
with certain executives and employees at Company 6, at least one sub-project to

Kazakhstan Project 1 for Company 6;

24
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 25 of 56

d. In or around and between 2004 and 2010, and in conspiracy
with certain executives and employees at Rolls-Royce and Company 21, at least
one sub-project to Kazakhstan Project | for Rolls-Royce and Company 21;

e. In or around 2005, and in conspiracy with certain executives
and employees at Company 4, at least one sub-project to Kazakhstan Project 1 for
Company 4;

f. In or around and between 2005 and 2008, and in conspiracy
with certain executives and employees at Company 3, at least two additional sub-
projects to Kazakhstan Project | for Company 3;

g. Jn or around and between 2005 and 2008, and in conspiracy
with certain executives and employees at Company 13, at least two sub-projects to
Kazakhstan Project | for Company 13;

h.  Inor around and between 2005 and 2010, and in conspiracy
with certain executives and employees at Company 14, at least eight contracts in
connection with a major oil and gas project in Kazakhstan for Company 14. In
furtherance of the conspiracy, Defendants C. AHSANI and S. AHSANI agreed
amongst themselves and with others, including CC-6, to pay kickbacks to an
executive at one of the companies in the Company [4 partnership;

i. In or around and between 2006 and 2009, and in conspiracy

with certain executives and employees at Company 19, at least one sub-project to

25
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 26 of 56

Kazakhstan Project 1 for a joint venture between Company 19 and another
company; and
j. In or around and between 2009 and 2013, and in conspiracy
with certain executives and employees at Company 20, at least three sub-projects
to Kazakhstan Project 1 for Company 20. In furtherance of the corrupt conspiracy,
Defendants C. AHSANI, 8. AHSANT, and others paid kickbacks to an executive
at Company 20.
Algeria

63. In Algeria, Defendants C. AHSANI and S. AHSANI conspired with
others, including certain executives and employees at client companies of
Intermediary Company, to pay bribes, promise to pay bribes, offer to pay bribes,
and authorize the payment of bribes to foreign government officials, including at
SOE-S, in order to obtain improper business advantages and to obtain and retain
business for Intermediary Company and its co-conspirator client companies,
including, but not limited to, Company 2, Company 15, Company 16, and
Company {&. Defendants C. AHSANI and 8S. AHSANT also conspired with others
to engage in other corrupt conduct such as bid-rigging, paying kickbacks, and
laundering the proceeds of the corrupt schemes.

64. For example, beginning by at least in or around November 2010,

executives at Company 2 contacted executives of Intermediary Company about

26
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 27 of 56

assistance for work in Algeria. In or about early 2011, Defendant C. AHSANI
received a “panicked” phone call from a Company 2 executive who said that the
Company 2 executive had promised to pay one or more individuals who had
assisted Company 2 in obtaining a contract from SOE-5. The Company 2
executive told Defendant C. AHSANI that Company 2 needed to make this
payment, and that if the payment were not made, Company 2 would have
“problems” with the SOE-5 contract. The Company 2 executive asked Defendant
C, AHSANI if Intermediary Company would agree to make the payment on behalf
of Company 2. Defendant C. AHSANI believed that the Company 2 executive
was asking him to pay a bribe.

65. Inor around June 2011, Defendants C. AHSANI, S. AHSANI, and
others caused Intermediary Company to enter into a “Sales Consultant Agreement”
with Company 2. As part of the arrangement, Defendant C. AHSANIJ agreed with
others, including two executives of Company 2, that Company 2 would pay
$300,000 to Intermediary Company, and that Intermediary Company would
perform no services for Company 2, except that Intermediary Company would pass
on a portion of the $300,000 payment to a shell company that had itself performed
no work for Intermediary Company or Company 2.

66. On or about February 22, 2012, Company 2 transferred $300,000

from a bank account in Belgium, through a correspondent account in the United

27
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD .Page 28 of 56

States, on to an Intermediary Company bank account in Monaco. In or about and
between October 25, 2012 and December 31, 2012, Defendants C. AHSANI and
S. AHSANI caused Intermediary Company to transfer approximately $170,000
from an Intermediary Company bank account in the United Arab Emirates, through
a correspondent account in the United States, on to the shell company bank
account in the United Kingdom.

67. In addition to the above, Defendants C. AHSANT, S. AHSANI, and
others, acting within the scope of their agency and other agreements and for the
benefit of Intermediary Company and Intermediary Company’s client companies,
conspired with others, including certain client company executives and employees,
to pay bribes, promise to pay bribes, offer to pay bribes, and authorize the payment
of bribes to government officials in Algeria, including within SOE-5, in order to
obtain the following additional projects:

a. In or around 2008, and in conspiracy with certain executives
and employees at Company 15, Company 16, and Company 17, in order to win
certain projects for Company 15 and Company 16. Among other things,
Defendants C. AHSANI, 8. AHSANTI, and others, conspired with executives at
Company 15, Company 16, and Company 17 to rig the bid on the two projects to
ensure that Company 15 won one project and that Company 16 won the other. In

furtherance of this agreement, Defendants C. AHSANI, S. AHSANTI, and others,

28
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 29 of 56

paid Company 17 to compensate Company 17 for deliberately losing the bid; and
paid kickbacks to an executive of Company 15 and paid kickbacks to a consultant
for Company 17; and
b. In or around and between 2009 and 2014, and in conspiracy
with certain executives and employees of Company 18, in order to obtain certain
contracts supplying spare parts to SOE-5 for Company 18. In furtherance of this
and other schemes, Defendants C. AHSANI, S. AHSANI, and others paid
kickbacks to an executive of Company 18.
Libya

68. In Libya, Defendants C. AHSANI and S. AHSANI, conspired with
others, including certain executives and employees at client companies of
Intermediary Company, to pay bribes, promise to pay bribes, offer to pay bribes,
and authorize the payment of bribes to foreign government officials in Libya,
including at SOE-6, in order to obtain improper business advantages and to obtain
and retain business for Intermediary Company and its co-conspirator client
companies, including, but not limited to, Company 10, Company 11, Company 12,
Company 23, and Company 24. Defendants C. AHSANI and S. AHSANTI also
conspired with others to engage in other corrupt conduct such as paying kickbacks
to executives and laundering the proceeds of the corrupt bribery and kickback

schemes.

29
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 30 of 56

69. For example, in or around May 2006, Company 10 entered into an
“Agency Agreement” appointing Intermediary Company as its agent in attempting
to secure the award of “Libya Project 1,” a design and construction project that is
known to the United States and Defendants. Thereafter, Defendant S. AHSANI
conspired with others, including CC-5, to promise to pay “Libya Official 1,” an
individual whose identity is known to the United States and the Defendants, in
exchange for Libya Official 1’s agreement to assist Intermediary Company and
Company 10 in obtaining the contract award for Libya Project 1. While Defendant
S. AHSANI, CC-5, and others understood that Libya Official 1 was not an
appointed Libyan government official at the time they promised to pay Libya
Official 1, Defendant S. AHSANI, CC-5, and others, believed Libya Official 1
could exert influence over senior Libyan government officials, including one
official who was a close relative of the then-head of the Libyan government, and
that this senior Libya official’s support or lack of support could determine whether
Company 10 and its subsidiaries won the award for Libya Project 1. At the time,
Defendants C. AHSANI and S. AHSANI also agreed to pay the bribe because
they understood that Libya Official 1 could potentially use Libya Official 1’s
influence to steer other Libyan government contracts to Intermediary Company

and its co-conspirator clients.

30
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 31 of 56

70. In or around October 2006, the Libyan government awarded Libya
Project 1 to Company 10.

71. After Libya Project | was awarded to Company 10, and in furtherance
of the corrupt arrangement, Defendants C. AHSANI, S. AHSANI, and others paid
$250,000 to a shell company they believed to be held in the name of a relative of
Libya Official 1, who by this time had an official title in the Libyan government.

72. Later, in or around 2009, Company 10 and Intermediary Company
had a contract dispute, which led Company 10 to stop making contractual
payments. In order to induce Company 10 to continue their payments to
Intermediary Company, Defendants C. AHSANI and 8. AHSANI agreed to pay
two executives at Company 10 kickbacks valued at approximately $100,000 each.

73. In addition to the above, Defendants C. AHSANI and S. AHSANI,
acting within the scope of their agency and other agreements and for the benefit of
Intermediary Company and Intermediary Company’s client companies, conspired
with others, including certain client company executives and employees, to pay
bribes, promise to pay bribes, offer to pay bribes, and authorize the payment of
bribes to government officials in Libya, including at SOE-6, in order to obtain the

following additional projects:

3]
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 32 of 56

a. In or around and between 2008 and 2011, and in conspiracy
with certain executives at Company 23 and Company 24, at least one project for
Company 23 and Company 24;

b. —_ In or around and between 2009 and 2010, and in conspiracy
with certain executives and employees at Company 12, at least one project for
Company 12. In furtherance of the corrupt conspiracy, Defendants C. AHSANI
and 8. AHSANI, and others, paid kickbacks to an executive at Company 12; and

C. In or around 2010, and in conspiracy with certain executives
and employees at Company 11, at least one project for Company 11.

Concealment and Obstruction

74. Beginning in or around 2006 and continuing until in or around 2016,
Defendants C. AHSANI and 8. AHSANI conspired with others to conceal the
ongoing bribery and money laundering schemes on behalf of Intermediary
Company and its co-conspirator client companies. Among other things,
Defendants C. AHSANI, S. AHSANI, and others used code words when
communicating with others about the corrupt scheme, made false statements over
international wires to the United States to obtain necessary compliance
certifications, caused false statements to be made in official proceedings, and took
efforts to conceal the discovery of incriminating information by law enforcement

in the United States and elsewhere.

32
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 33 of 56

75. For example, Defendants C. AHSANI and 8S. AHSANI conspired
with others to make false statements, through interstate and international wire
communications, to “Due Diligence Organization,” an anti-bribery organization
headquartered in the United States whose identity is known to the United States
and the Defendants, Due Diligence Organization offered companies due diligence
services, including screenings and certifications, which were designed to signal
whether a company had met certain anticorruption standards.

76. Beginning in or around 2006, Rolls-Royce’s compliance department
initiated a new control that required all sales agents to undergo Due Diligence
Organization’s screening and obtain a compliance certification. In order to obtain
Due Diligence Organization’s certification and continue doing business with Rolls-
Royce and RRESI, Defendants C. AHSANI, S. AHSANI, and others agreed to
cause materially false and misleading information to be transmitted, through
interstate and international wire, to Due Diligence Organization in the United
States, including false statements that Intermediary Company was not involved in
the payment of bribes to foreign government officials. Further, Defendants
C. AHSANI, S. AHSANI, and others provided Due Diligence Organization with
business references, including executives at Company 3, Company 7, and
Company 18, who knew that Intermediary Company paid bribes to win business

for Company 3, Company 7, and Company 18, respectively. Defendants

33
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 34 of 56

C. AHSANI, 8. AHSANE, and others caused Intermediary Company to submit
false statements so that Intermediary Company could continue to maintain Due
Diligence Organization’s certifications until at least in or around 2015.

77. Additionally, in or around June and July of 2011, Defendant
C. AHSANL, 8S. AHSANL, and others learned that a foreign law enforcement
agency had begun investigating a co-conspirator. In response, Defendants
C. AHSANI, 8S. AHSANT, and others caused over 250,000 potentially
incriminating emails and other documents on Intermediary Company’s system to
be archived. Thereafter, Defendants C. AHSANI, 8S. AHSANI, and others caused
the archived documents to be relocated from Intermediary Company’s offices in
Monaco to Lebanon and the United Arab Emirates.

78. On or about March 29, 2016, several media outlets began reporting
that Defendants C. AHSANI, S. AHSANI, and others had participated in a long-
running bribery scheme at Intermediary Company, and the news reports included
excerpts from the archived documents identified in Paragraph 77. The Defendants
learned that multiple law enforcement agencies, including law enforcement in the
United States, were conducting investigations into Intermediary Company’s
bribery scheme. Thereafter, in or around the summer of 2016, Defendants

C. AHSANI, 8. AHSANI, and others destroyed incriminating documents with the

34
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 35 of 56

intent to prevent their discovery by law enforcement agents in the United States,
the United Kingdom, Australia, and elsewhere.

COUNT ONE
(Conspiracy)

79. The allegations set forth in paragraphs 1 through 78 of this
information are repeated and realleged as if fully set forth herein.

80. Beginning by at least in or around 1999 and continuing through at
least in or around 2016, in the Southern District of Texas and elsewhere, the
Defendants,

CYRUS ALLEN AHSANI,
and
SAMAN AHSANI,
did, knowingly and willfully, that is, with the intent to further the objects of the
conspiracy, conspire, confederate, and agree with others, including Intermediary
Company, CC-1, CC-2, CC-3, CC-4, CC-5, CC-6, CC-7, Intermediary Company’s
client companies and certain of their executives and employees, including at Rolls-
Royce, RRESI, SBM, Company |, Company 2, Company 3, Company 4,
Company 5, Company 6, Company 7, Company 8, Company 9, Company 10,
Company 11, Company 12, Company 13, Company 14, Company 15, Company

16, Company 17, Company 18, Company 19, Company 20, Company 21,

35
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 36 of 56

Company 22, Company 23, Company 24, and Company 25, and others known and
unknown, to commit offenses against the United States, that is:

a. being an agent of an issuer, to willfully make use of the mails
and means and instrumentalities of interstate commerce corruptly in furtherance of
an offer, payment, promise to pay, and authorization of the payment of any money,
offer, gift, promise to give, and authorization of the giving of anything of value to
a foreign official and to a person, while knowing that all or a portion of such
money and thing of value would be and had been offered, given, and promised to a
foreign official, for purposes of: (i) influencing acts and decisions of such foreign
official in his official capacity; (ii) inducing such foreign official to do and omit to
do acts in violation of the lawful duty of such official; (iii) securing any improper
advantage; and (iv) inducing such foreign official to use his influence with a
foreign government and agencies and instrumentalities thereof to affect and
influence acts and decisions of such government and agencies and
instrumentalities, in order to assist Company 1, Company 2, Company 3,

Company 4, the parent company of Company 5, Company 6, Company 21,
Company 24, and others known and unknown, in obtaining and retaining business
for and with, and directing business to, Intermediary Company, Company 1,

Company 2, Company 3, Company 4, Company 5 and its parent company,

36
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 37 of 56

Company 6, Company 21, Company 23, Company 24, and others known and
unknown, in violation of the FCPA, Title 15, United States Code, Section 78dd-1;
b. being an agent of a domestic concern, to willfully make use of
the mails and means and instrumentalities of interstate commerce corruptly in
furtherance of an offer, payment, promise to pay, and authorization of the payment
of any money, offer, gift, promise to give, and authorization of the giving of
anything of value to a foreign official and to a person, while knowing that all or a
portion of such money and thing of value would be and had been offered, given,
and promised to a foreign official, for purposes of: (i) influencing acts and
decisions of such foreign official in his official capacity; (ii) inducing such foreign
official to do and omit to do acts in violation of the lawful duty of such official;
(ili) securing any improper advantage; and (iv) inducing such foreign official to
use his influence with a foreign government and agencies and instrumentalities
thereof to affect and influence acts and decisions of such government and agencies
and instrumentalities, in order to assist RRESI, Company 22, Company 23 and
others known and unknown, in obtaining and retaining business for and with, and
directing business to, Intermediary Company, Rolls-Royce, RRESI, Company 22,
Company 23, Company 24, and others known and unknown, in violation of the

FCPA, Title 15, United States Code, Section 78dd-2;

37
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 38 of 56

c. while in the territory of the United States, to willfully make use
of the mails and means and instrumentalities of interstate commerce corruptly in
furtherance of an offer, payment, promise to pay, and authorization of the payment
of any money, offer, gift, promise to give, and authorization of the giving of
anything of value to a foreign official and to a person, while knowing that all ora
portion of such money and thing of value would be and had been offered, given,
and promised to a foreign official, for purposes of: (i) influencing acts and
decisions of such foreign official in his official capacity; (ii) inducing such foreign
official to do and omit to do acts in violation of the lawful duty of such official;
(iii) securing any improper advantage; and (iv) inducing such foreign official to
use his influence with a foreign government and agencies and instrumentalities
thereof to affect and influence acts and decisions of such government and agencies
and instrumentalities, in order to assist Rolls-Royce, SBM, Company 7,

Company 8, Company 9, Company 10, Company 11, Company 12, Company 13,
Company 14, Company 15, Company 16, Company 17, Company 18,

Company 19, Company 20, Company 25 and others known and unknown, in
obtaining and retaining business for and with, and directing business to,
Intermediary Company, Rolls-Royce, RRESI, SBM, Company 7, Company 8,
Company 9, Company 10, Company 11, Company 12, Company 13, Company 14,

Company 15, Company 16, Company 17, Company 18, Company 19,

38
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 39 of 56

Company 20, Company 25, and others known and unknown, in violation of the
FCPA, Title 15, United States Code, Section 78dd-3;

d. _—‘ transporting, transmitting, transferring, and attempting to
transport, transmit, and transfer, monetary instruments from a place in the United
States to or through a place outside the United States, or to a place in the United
States from or through a place outside the United States, with the intent to promote
the carrying on of a specified unlawful activity, as defined in Title 18, United
States Code Section 1956(c)(7), in violation of Title 18, United States Code,
Section 1956(a)(2)(A);

e. transporting, transmitting, transferring, and attempting to
transport, transmit, and transfer, monetary instruments from a place in the United
States to or through a place outside the United States, or to a place in the United
States from or through a place outside the United States, knowing that the
monetary instrument or funds involved in the transportation, transmission, or
transfer represent the proceeds of some form of unlawful activity and knowing that
such transportation, transmission, or transfer is designed, in whole or in part, to
conceal or disguise the nature, the location, the source, the ownership, or the
control of the proceeds of specific unlawful activity, as defined in Title 18, United
States Code Section 1956(c)(7), in violation of Title 18, United States Code,

Section 1956(a)(2)(B)(i); and

39
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 40 of 56

f. knowingly altering, destroying, mutilating, concealing,
covering up, falsifying, and making false entries in any record, document, or
tangible object with the intent to impede, obstruct, or influence criminal
investigations into Defendants C. AHSANI, S. AHSANT, Intermediary Company,
and others known and unknown, a matter within the jurisdiction of the U.S.
Department of Justice, in violation of Title 18, United States Code, Section 1519.

Purpose of the Conspiracy

81. The purpose of the conspiracy was for Defendants C. AHSANI,
S. AHSANI, and their co-conspirators, to enrich themselves, Intermediary
Company, Intermediary Company’s client companies, and others, by, among other
things, making corrupt bribe and kickback payments to foreign officials, so that
Intermediary Company and its co-conspirator clients would obtain and retain
lucrative contracts, to launder the proceeds of the corrupt bribery and kickback
schemes in order to promote and conceal the ongoing schemes, and to falsify and
destroy records to avoid detection and prosecution by law enforcement in the
United States and elsewhere.

Manner and Means of the Conspiracy

82. The manner and means by which Defendants C. AHSAN],

S. AHSANJ, and their co-conspirators sought to accomplish the purpose of the

conspiracy included, among other things, the following:

40
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 41 of 56

83. Defendants C. AHSANI and S. AHSANI, together with their
co-conspirators, communicated in person, via email, telephone, and fax machine,
the need, agreement and manner to pay bribes to foreign officials in order to obtain
and retain improper business advantages and lucrative contract awards from
foreign governments, agencies and instrumentalities for Intermediary Company
and its co-conspirator client companies.

84. Defendants C. AHSANI and 8S. AHSANL, together with their
co-conspirators, obtained confidential bidding and other inside information from
within foreign governments, agencies and instrumentalities, and used,
disseminated, and discussed the contents of that information with others at
Intermediary Company and its co-conspirator client companies, in order to obtain
improper advantages and lucrative contract awards for Intermediary Company and
its co-conspirator client companies.

85. Defendants C. AHSANI and 8. AHSANI, together with their
co-conspirators, solicited energy, engineering and construction companies
operating in the energy sector to retain Intermediary Company’s services by
describing their “proximity” to foreign officials, and their ability to obtain inside
confidential bidding information.

86. Defendants C. AHSANI and 8S. AHSANI, together with their

co-conspirators, used code words, maintained multiple versions of books and

4]
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 42 of 56

records within Intermediary Company, and structured bribe and kickback
payments through multiple affiliates and subsidiary companies of Intermediary
Company in order to promote and conceal the ongoing bribery and kickback
scheme from detection by law enforcement and others.

87. Defendants C. AHSANI and S. AHSANI, together with their
co-conspirators, negotiated corrupt kickback payments with certain foreign
officials and executives and employees at their co-conspirator client companies in
order to obtain or retain business for Intermediary Company and its co-conspirator
client companies.

88. Defendants C. AHSANI and S. AHSANI, together with their
co-conspirators, maintained original and copies of incriminating documents offsite
in other locations than Intermediary Company’s office location in Monaco or their
residences, in order to conceal their discovery by law enforcement and others.

89. Defendants C. AHSANI and S. AHSANI, together with their
co-conspirators, destroyed original and copies of incriminating documents,
including destroying flash drives and paper records, in order to conceal their
discovery by law enforcement and others.

90. Defendants C. AHSANI and S. AHSANI, together with their
co-conspirators, made false and misleading statements and omissions, including in

communications by wire to Due Diligence Organization in order to obtain

42
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 43 of 56

compliance certifications that was used to circumvent certain client companies’
compliance functions and to facilitate business transactions with them.
Overt Acts

91. In furtherance of the conspiracy and to achieve the objects thereof, at
least one of the co-conspirators committed or caused to be committed, in the
Southern District of Texas and elsewhere, at least one of the following overt acts,
among others:

92. On or about June 17, 2003, Defendant C. AHSANI and others caused
Intermediary Company to enter into an agreement with a “sub-agent” to pay the
“sub-agent” approximately 0.44% of the value of the Kazakhstan Project 1A.

93. Onor about June 17, 2003, Defendant C. AHSANI and others caused
Intermediary Company to enter into a “side letter” agreement with the “sub-agent”
in Kazakhstan mandating that payments to the “‘sub-agent” on Kazakhstan
Project 1A would continue only if three named government officials remained in
their official positions in Kazakhstan.

94. On or about November 15, 2004, Defendant C. AHSANI sent an
email, through interstate and international wire, to an employee at Intermediary
Company, in which he explained the need to arrange a bribe payment to Kazakh

Official 2 on behalf of Company 3, “we need to arrange 10K for [Kazakh

43
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 44 of 56

Official 2] to take to kaz. by the 23 Nov between [CC-2] and myself. Also kindly
get the details of [CC-1’s] acct for the 200k dollars to send to him tomorrow.”

95. Onor about February 15, 2005, Defendants C. AHSANI,

S. AHSANI, and others caused Intermediary Company to transfer approximately
$300,000 from an Intermediary Company bank account in Monaco, through a
correspondent bank account in the United States, on to a bank account in
Switzerland that was beneficially owned and controlled by Kazakh Official 1.

96. Onor about March 16, 2005, Defendants C. AHSANI, S. AHSANI,
and others caused Intermediary Company to transfer approximately $100,000 from
an Intermediary Company bank account in Monaco, through a correspondent bank
account in the United States, on to a bank account in Latvia that was beneficially
owned and controlled by an Intermediary Company “sub-agent” in Kazakhstan and
which would be used to conceal a bribe payment.

97. On or about and between March 29 and March 31, 2005, Defendant
C. AHSANI and CC-1 traveled to Houston, Texas, in the Southern District of
Texas, in order to meet with executives at co-conspirator companies, including
Company 3 and Company 4, and to solicit business from prospective client
companies seeking to obtain contracts in Kazakhstan.

98. On or about October 3, 2005, Defendants C. AHSANI, 8S. AHSANI,

and others caused Intermediary Company to transfer approximately $2 million

44
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 45 of 56

from an Intermediary Company bank account in Switzerland, through a
correspondent bank account in the United States, on to a shell company bank
account in Hong Kong, with the understanding that at least a portion of the funds
would be used to pay a bribe to a senior Kazakh official for that official’s
assistance in helping Company 7 obtain and retain business in Kazakhstan.

99. On or about August 17, 2005, Defendants C. AHSANE, S. AHSANTI,
and others caused Intermediary Company to transfer approximately $136,500 from
an [Intermediary Company bank account in Switzerland to a bank account in the
United States, knowing at least a portion of the funds would be used to pay a bribe
to a foreign official to help Company 7 obtain and retain business in Kazakhstan.

100. On or about April 13, 2006, Defendant C. AHSANI sent an email,
through interstate and international wire, to an executive of Company 7, copying
Defendant S. AHSANIE, asking the Company 7 executive to serve as a reference
for Intermediary Company’s certification review by Due Diligence Organization,
even though Defendants C. AHSANI, 8S. AHSANT, and the Company 7 executive
knew that Intermediary Company paid bribes on behalf and for the benefit of
Company 7.

101. On or about May 24, 2006, Defendants C. AHSANI, 8. AHSANIT,

and others caused Intermediary Company to enter into an “Agency Agreement” —

45
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 46 of 56

with Company 10, which authorized Intermediary Company to assist in negotiating
with the Libyan government and securing the award of Libya Project 1.

102. On or about July 17, 2006, CC-2 sent an email, through interstate and
international wire, to Defendant C. AHSANI explaining that Intermediary
Company owed an Italy-based “sub-agent” for bribes paid to a government official
in SOE-4 on behalf of Rolls-Royce, writing, “We owe [the sub-agent] 56K from
Dec last year and another 154K recently paid from Rolls... .”

103. On or about February 16, 2007, Defendants C. AHSANI,

S. AHSANT, and others caused Intermediary Company to transfer approximately
$191,400 from an Intermediary Company bank account in Switzerland, through a
correspondent bank account in the United States, on to a bank account in the
United Kingdom, with the intention that a portion of the funds would be used to
pay a bribe to a foreign official on behalf of and for the benefit of Company 6.

104. On or about May 18, 2008, CC-3 sent an email, through interstate and
international wire, to Defendant C. AHSANI and CC-4 to explain that he had met
with Iraq Official 2, who was then a high-level official at SOE-1, and discussed
Iraq Official 2’s “future position with [Intermediary Company].” CC-3 went on to
explain that at the meeting Iraq Official 2 indicated that the government of Iraq

was preparing to bid Iraq Project 1.

46
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 47 of 56

105. On or about June 7, 2008, Defendant C. AHSANI caused an
employee of Intermediary Company to sign a “Service Agreement” with
Company 16, the terms of which required Company 16 to pay Intermediary
Company a 2.1 percent commission on a project in Algeria.

106. On or about September 1, 2008, Defendant C. AHSANI signed a
“Consultancy Agreement” with Company 15, the terms of which required
Company 15 to pay Intermediary Company a $13 million fee for assistance in
obtaining a project in Algeria.

107. On or about February 6, 2009, an executive at Company 18, who was
aware that Intermediary Company was paying bribes on behalf of Company 18 and
receiving kickback payments from Intermediary Company, executed a Business
Reference, in which the executive wrote, “[Intermediary Company’s] Business
Ethics and reputation is among all their Peers of the highest standard” and “To my
knowledge ... there is no family nor financial ties between any [Intermediary
Company] employee, managers, owner and any government agencies/officials.”
The executive at Company 18 then caused this business reference to be emailed,
through interstate and international wire, to Due Diligence Organization.

108. On or about February 26, 2009, CC-3 forwarded an email, through
interstate and international wire, that CC-3 received from Iraq Official 2, to

Defendant C. AHSANI and CC-4. The email included confidential information

47
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 48 of 56

from SOE-1, including a draft vendor list for various Iraqi projects, including Irag
Project 1B and Iraq Project 1C. In the email, CC-3 explained, “We have one week
to add [or] subtract to th[is] list and return it to our friend.”

109. On or about May 15, 2009, CC-3 sent an email, through interstate and
international wire, to Defendant C. AHSANI containing confidential SOE-1
documents, including competitive bidding information on Iraq Project 1C, which
CC-3 had received earlier that day from Iraq Official 2. In the email, CC-3
instructed that Defendant C. AHSANI should “give it confidentially to SBM... .”

110. On or about May 17, 2009, CC-3 sent an email, through interstate and
international wire, to Defendant C. AHSANI discussing a proposal to pay a
regular bribe to Iraq Official 2 as a “retainer”:

It is $6000 per month. ($5K for [Iraq Official 2], and $1K [Iraq Official

2] needs for presents to people within)[.] I think this will only go on as

far as we get commitments firmed up and [Iraq Official 2] knows [Iraq

Official 2’s] portion.

Similarly if [Iraq Official 2] leaves this position it stops.

11t. Inor around June 2009, Defendants C. AHSANT, 8S. AHSANT, and
others caused a corrupt payment of approximately $250,000 to be made to a
relative of Libya Official 1.

112. On or about July 23, 2009, Defendants C. AHSANI, S. AHSANI, and

others caused Intermediary Company to enter into a “Settlement Agreement” with

Company 10.
48
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 49 of 56

113. On or about July 27, 2009, Defendant S. AHSANI caused
Intermediary Company to transfer approximately $100,000 from an Intermediary
Company bank account in Monaco, through a correspondent bank account in the
United States, on to a bank account in the United Arab Emirates that was
beneficially owned and controlled by an executive at Company 10.

114. On or about and between August 10, 2009, and August 16, 2009,
CC-2 traveled to Houston, Texas in the Southern District of Texas, in order to meet
with executives at co-conspirator companies, including Company 6, and solicit
business from prospective client companies seeking to obtain contracts in Iraq.

115. On or before August 18, 2009, CC-3 met with CC-7 in Amman,
Jordan to discuss CC-7 working as a “sub-agent” for Intermediary Company.

116. On or about September 24, 2009, Defendant S. AHSANI sent an
email, through interstate and international wire, to Defendant C. AHSANI and
another to coordinate payments to Company 17 for fictitious engineering services,
but which were in fact compensation for Company 17’s agreement to voluntarily
lose bids in Algeria to Company 15 and Company 16.

117. On or about and between May 2, 2010, and May 6, 2010, CC-4 and
other Intermediary Company employees traveled to the Offshore Technology

Conference in Houston, Texas in the Southern District of Texas, in order to meet

with executives at co-conspirator companies, including SBM and Company 2, and

49
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 50 of 56

to solicit business from prospective client companies seeking to obtain contracts in
Libya and Iraq.

118. On or about May 26, 2010, CC-2 traveled to Perth, Australia, and met
with certain executives at Company 8 and Company 9, where they agreed to rig the
bidding process for projects in Iraq.

119, On or about August 25, 2010, Defendants C. AHSANI, 8S. AHSANI,
and others caused Intermediary Company to enter into a consultancy agreement
with CC-7, which included paying CC-7 approximately $4.5 million for, among
other things, “facilitating to get [Iraq Project 1A] order for [Company 8].”

120. On or about December 30, 2010, Defendants C. AHSANT,

S. AHSANI, and others caused Intermediary Company to transfer approximately
$1,000,000 from an Intermediary Company bank account in Monaco, through a
correspondent bank account in the United States, to a company bank account in
Jordan that was beneficially owned and controlled by CC-7.

121. On or about January 18, 2011, Defendant S. AHSANI signed a “Sales
Consultant Agreement” on behalf of Intermediary Company agreeing to pay CC-7
approximately $16 million in order to obtain a project in Iraq for Company 8.

122. On or about February 6, 2011, an Intermediary Company employee
sent an email, through interstate and international wire, to Defendant S. AHSANT,

CC-5, and another concerning the bribe payment structure for a project Company

50
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 51 of 56

23 won with SOE-6, “[CC-5] has agreed to pay half (0.5%) now and the rest when
the project has been completed and all the monies have been rewarded. We have
prepped a cash call for the next two months for the Libya office and I suppose it’s
practical to get this payment involved as well.”

123. On or about March 28, 2011, an Intermediary Company employee
sent an email, through interstate and international wire, to Defendant C. AHSANI,
“Further to our discussion and for your information, please find below the details
of the co [Company 2] want us to sign with.” The email included bank account
details for a shell company that performed no work for Intermediary Company or
Company 2.

124. On or about July 1, 2011, Defendant S. AHSANIT signed a “Sales
Consultant Agreement” on behalf of Intermediary Company with Company 2.

125. On or about July 11, 2011, Defendants C. AHSANI, S. AHSANI, and
CC-1 generated a spreadsheet designed to identify certain areas of possible
criminal exposure. This spreadsheet identified bribes and other corrupt payments
made on behalf of Company 3, Company 6, Company 7, Company 8,

Company 10, Company 11, Company 13, Company 14, Company 15,
Company 17, Company 18, Company 19, Company 20, and Company 22, among
others. Concerning payments to CC-7, the entry in the spreadsheet was

highlighted in red and read “Major Exposure — [CC-1] to talk to [CC-3].”

5]
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 52 of 56

126. On or about August 18, 2011, while in the United States with CC-3
and CC-5, Defendant S. AHSANI and CC-3 spoke by telephone, through interstate
and international wire, with Defendant C. AHSANI concerning making a payment
to CC-6 related to the project with Company 8.

127. On or about September 16, 2011, Defendants C. AHSANI,

S. AHSANI, and others caused Intermediary Company to transfer approximately
$500,000 from an Intermediary Company bank account in Monaco, through a
correspondent bank account in the United States, to a company bank account in
Jordan that was beneficially owned and controlled by CC-7.

128. On or about October 19, 2011, Defendant S. AHSANI signed a
“Binding Contract” on behalf of a subsidiary of Intermediary Company agreeing to
pay CC-7 approximately $3.25 million for purported “engineering” services, but
which was, in fact, to be used to make bribe payments to Iraqi officials in order to
obtain an engineering and construction project for Intermediary Company.

129. On or about and between April 9 and April 11, 2012, CC-2 traveled to
Houston, Texas in the Southern District of Texas, in order to in order to meet with
executives at co-conspirator companies, including Company 6, and to solicit
business from prospective client companies seeking to obtain contracts in

Kazakhstan, Azerbaijan, and Libya.

52
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 53 of 56

130. On or about October 25, 2012, Defendants C. AHSANI, S. AHSANI,
and others caused Intermediary Company to transfer approximately $70,000 from
an Intermediary Company bank account in the United Arab Emirates, through a
correspondent bank account in the United States, on to a bank account of a shell
company that was controlled by the “‘sub-agent” a Company 2 executive had told
Defendant C. AHSANI to pay in connection with Company 2’s contract with
SOE-5 for a project in Algeria.

131. On or about December 6, 2013, Defendant S. AHSANI conspired
with others to send an email, through interstate and international wire, to a
U.S.-based employee of Due Diligence Organization, containing the following
materially false statement: “I certify that to the best of my knowledge, neither
{Intermediary Company] nor any of its employees or third parties acting on its
behalf have offered or given anything of value to a government official in order to
obtain or retain business or receive an improper business advantage.”

132. On or about September 4, 2014, Defendant S. AHSANI signed a
“Memorandum of Understanding” with Company 25 on behalf of Intermediary
Company, in which the parties agreed to establish a joint venture and jointly bid
for a maintenance management services project in Iraq.

133. On or about October 23, 2014, an executive of Intermediary Company

emailed, through interstate and international wire, Defendant S. AHSANI and

53
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 54 of 56

executives of Company 25, discussing a two percent bribe to be paid to Iraq
Official 1, “We need to transfer the . . . 2% (8% to 10%) by increasing by 2% the
contingencies on security.” On or about the same date, an executive of Company
25 sent a responsive email, through interstate and international wire, to Defendant
S. AHSANL executives of Intermediary Company, and executives of Company
25, proposing to meet to discuss the “cost model,” and suggesting an alternative
structure, “[o]r we agree to keep these 2% in one pot, to be discussed with [another
Company 25 executive.]”

134. On or about January 14, 2015, Defendant C. AHSANI and
S. AHSANI and executives of Company 25 caused the execution of a “Master
Agreement” for a maintenance management services project in Iraq.

135. In or around April 2016, after learning from public news sources that
Intermediary Company was under investigation by the United States and foreign
law enforcement, Defendants C. AHSANI and 8. AHSANI caused incriminating
documents to be destroyed.

All in violation of Title 18, United States Code, Section 371.

54
Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 55 of 56

NOTICE OF CRIMINAL FORFEITURE
(28 U.S.C. § 2461(c); 18 U.S.C. §§ 981(a)(1)(C) & 982(a)(1))

Pursuant to Title 28, United States Code, Section 2461(c) and Title 18,
United States Code, Sections 981(a)(1)(C) and 982(a)(1), the United States gives
notice to the Defendants,

CYRUS ALLEN AHSANI,
and
SAMAN AHSANI,
that in the event of conviction, the United States intends to seek forfeiture of (a) all
property, real or personal, which constitutes or is derived from proceeds traceable
to the criminal offense; and (b) all property, real or personal, involved in money

laundering or traceable to such property.

MONEY JUDGMENT AND SUBSTITUTE ASSETS
The United States gives notice that it will seek a money judgment against each

Defendant. In the event that one or more conditions listed in Title 21, United States

35
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Case 4:19-cr-00147 Document 16 Filed on 03/04/19 in TXSD Page 56 of 56

RYAN K. PATRICK
United States Attorney
Southern District of Texas

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Assistant United States Attorney

BY:

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Code, Section 853(p) exist, the United States will seek to forfeit any other property

of each Defendant up to the amount of the money judgment.

ROBERT A. ZINK

Acting Chief, Fraud Section
Criminal Division
Department of Justice

"Zain

Le. R. KIHM
GERALD M. MOODY, JR.
JONATHAN ROBELL
GWENDOLYN STAMPER
Trial Attorneys
